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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

FTX TRADING LTD. et al.,1                                             Case No. 22-11068 (JTD)

                                    Debtors.                          (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX                                         Adv. Proc. Case No. 23-50444 (JTD)
TRADING LTD.,

                  Plaintiffs,

vs.

PLATFORM LIFE SCIENCES, INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                  Defendants.


    NOTICE OF COMPLETION OF BRIEFING REGARDING MOTION OF PLATFORM
    LIFE SCIENCES, INC., A CANADIAN CORPORATION, TO DISMISS COMPLAINT
       FOR LACK OF PERSONAL JURISDICTION PURSUANT TO RULE 12(B)(2)

                  PLEASE TAKE NOTICE that Platform Life Sciences Inc., a Delaware

corporation (“PLS Delaware”), in the above-captioned case, hereby provides notice that briefing

has been completed with respect to the Motion of Platform Life Sciences, Inc., a Canadian



1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
4063 respectively. A complete list of the Debtors and the last four digits of their federal tax identification numbers
may be obtained on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX. The
principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial
Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


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Corporation, to Dismiss Complaint for Lack of Personal Jurisdiction Pursuant to Rule 12(b)(2)

(the “Motion to Dismiss”) [Docket No. 35] filed on September 15, 2023. Below is a list of all

relevant pleadings and docket numbers filed and related to the Motion to Dismiss.



 Tab No.       Date Filed    Docket No.                          Pleading

            MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                          PURSUANT TO RULE 12(B)(2)

     1           09/15/23       35         Motion of Platform Life Sciences, Inc., a Canadian
                                           Corporation, to Dismiss Complaint for Lack of
                                           Personal Jurisdiction Pursuant to Rule 12(b)(2)

     2           09/15/23       36         Declaration of Dr. Edward J. Mills in Support of
                                           Motion Under Rule 12(b)(2) to Dismiss Complaint for
                                           Lack of Personal Jurisdiction on Behalf of Platform
                                           Life Sciences, Inc., a Canadian Corporation

     3           09/29/23       41         Plaintiffs’ Opposition to Defendant Platform Life
                                           Sciences, Inc.’s Motion to Dismiss for Lack of
                                           Personal Jurisdiction

     4           09/29/23       42         Declaration of Matthew B. McGuire in Support of
                                           Plaintiffs’ Opposition to Defendant Platform Life
                                           Sciences, Inc.’s Motion to Dismiss the Complaint for
                                           Lack of Personal Jurisdiction

     5           10/06/23       45         Reply of Platform Life Sciences, Inc., a Canadian
                                           Corporation, to Plaintiffs’ Opposition to Motion to
                                           Dismiss Complaint for Lack of Personal Jurisdiction
                                           Pursuant to Rule 12(b)(2)

     6           10/06/23       46         Supplemental Declaration of Dr. Edward J. Mills in
                                           Support of Motion Under Rule 12(b)(2) to Dismiss
                                           Complaint for Lack of Personal Jurisdiction on Behalf
                                           of Platform Life Sciences, Inc., a Canadian
                                           Corporation

     7           10/11/23       47         Notice of Filing Corrected Exhibit to Declaration of
                                           Matthew B. McGuire in Support of Plaintiffs’
                                           Opposition to Defendant Platform Life Sciences, Inc.’s
                                           Motion to Dismiss the Complaint for Lack of Personal
                                           Jurisdiction


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Dated:     October 16, 2023            PACHULSKI STANG ZIEHL & JONES LLP

                                       /s/ James E. O’Neill
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                                       Counsel to Defendant Platform Life Sciences, Inc., a
                                       Delaware corporation, now known as Purpose Life
                                       Sciences, Inc., a Delaware corporation




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